AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District
                                                 __________       of North
                                                              District     Carolina
                                                                       of __________


                       Joyce Fitch et al                          )
                             Plaintiff                            )
                                v.                                )      Case No. 2:24-cv-00026-D
                     Nathan Everett et al                         )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Joyce Fitch, Mark Mixon, Sherryreed Robinson,Adriana Blakeman,The Concerned Citizens of Tyrrell County .


Date:          05/21/2024
                                                                                           Attorney’s signature


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